                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 COLUMBIA DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )         CASE NO. 1-11-00010
                                                 )         JUDGE SHARP
LARRY BLY [3]                                    )
                                                 )

                                        ORDER


       Pending before the Court is Defendant’s Unopposed Motion to Continue Sentencing

Hearing (Docket No. 248).

       The motion is GRANTED and the hearing set for September 24, 2014, is hereby

rescheduled for Tuesday, November 12, 2014, at 1:30 p.m.

       It is so ORDERED.




                                                KEVIN H. SHARP
                                                UNITED STATES DISTRICT JUDGE




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